                          IN THE UNITED STATES DISTRICT COURT
                         FOR THE WESTERN DISTRICT OF MISSOURI
                                   ST. JOSEPH DIVISION

UNITED STATES OF AMERICA,                       )
                                                )
                         Plaintiff,             )
                                                )
vs.                                             )       Case No. 05-6027-03/04-CR-SJ-GAF
                                                )
SHEENA N. CLARK and                             )
SARAH J. HAUG,                                  )
                                                )
                         Defendants.            )

                                               ORDER

        Now pending before the Court is defendant Sheena Clark’s Motion to Suppress (Doc. #38)

and defendant Sarah Haug’s Motion to Suppress (Doc. #40). Defendants seek to suppress 35 grams

of crack cocaine and PCP seized by officers following a traffic stop. Defendants argue that there was

not sufficient reasonable suspicion to support the car stop. Defendants are not challenging the actual

search of the vehicle.

        On December 6, 2005, an evidentiary hearing was held on defendants’ motions. On

December 20, 2005, United States Magistrate Judge Sarah W. Hays issued her Report and

Recommendation. Defendant Clark filed her objections to the Report and Recommendation on

December 30, 2005, and defendant Haug filed her objections to the Report and Recommendation and

a Motion to Reconsider on January 3, 2006.

        Upon careful and independent review of the pending motions, defendants’ objections to the

Magistrate's Report and Recommendation, as well as the applicable law, this Court hereby adopts and

incorporates as its own Opinion and Order the Report and Recommendation of United States




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Magistrate Judge Sarah W. Hays.

       Accordingly, it is hereby ORDERED that defendant Sheena Clark’s Motion to Suppress (Doc.

#38) and defendant Sarah Haug’s Motion to Suppress (Doc. #40) are OVERRULED and DENIED.

       SO ORDERED.


                                                          /s/ Gary A. Fenner
                                                          GARY A. FENNER, JUDGE
                                                           United States District Court

DATED: January 4, 2006




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